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                        Exhibit 1
  (First Declaration of Vijay Bisht)




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                Exhibit A




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                 Exhibit B




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                                                               Kirby Behre
                                                               Member
                                                               (202) 626-5960
                                                               kbehre@milchev.com


                                                        October 13, 2020


CONFIDENTIAL
OFFER OF SETTLEMENT UNDER FRE 408
WITHOUT PREJUDICE

Via E-mail

Vibhor Sharma
House Number-791, 10a, Sector Rd,
IOC Colony, Sector 10A,
Gurugram, Haryana 122003, India

        Re:       Your Involvement in the Hacking of Farhad Azima

       Dear Mr. Sharma:

        We represent Farhad Azima regarding the hacking he suffered. We have learned that you
and CyberRoot Risk Advisory Private Limited were directly involved in the hacking of Mr. Azima
and the distribution of his stolen data, and that CyberRoot was paid more than $1 million to steal
Mr. Azima’s data on behalf of RAKIA. Mr. Azima intends to file suit against you and CyberRoot,
and we write before doing so to offer you the opportunity to cooperate with us regarding this
matter.

       The attached draft complaint summarizes some, but not all, of the misconduct you and
others were involved in relating to the hacking of Mr. Azima. Any complaint we file may include
additional allegations, and similar lawsuits may be filed in other jurisdictions, including the UK.
However, if you are willing to cooperate fully with us in recovering damages from those involved,
we will consider releasing you from Mr. Azima’s claims in all jurisdictions.

        Your truthful cooperation will not be valuable to us if you disclose the attached draft
complaint, this letter, or any information regarding our offer of settlement with anyone other than
a lawyer if you choose to consult with one. If we reach an agreement regarding your cooperation,
we will ask that you confirm to us in writing that you (and any lawyer you retain, if you decide to
retain one) have not shared this information with anyone.

              Miller & Chevalier Chartered . 900 16th Street NW . Washington, DC 20006
                                  T 202.626.5800 . millerchevalier.com



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To: Vibhor Sharma
October 13, 2020
Confidential | FRE 408 | Without prejudice
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        If you are interested in discussing the possibility of cooperating with us, we must hear from
you before 5 pm Eastern time on Thursday, October 15, 2020. Should you decide not to cooperate,
our client will proceed to file suit without further notice.

                                                         Sincerely,



                                                         Kirby Behre


cc:    Ian Herbert, Miller & Chevalier Chartered
       Chris Jones, Womble Bond Dickinson
       Ripley Rand, Womble Bond Dickinson

Enclosure




              Miller & Chevalier Chartered . 900 16th Street NW . Washington, DC 20006
                                  T 202.626.5800 . millerchevalier.com



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                Exhibit C




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                         UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

__________________________________________
                                          )
FARHAD AZIMA,                             )
5921 Ward Parkway                         )
Kansas City, Missouri 64113,              )
                                          )
              Plaintiff,                  )
                                          )
      v.                                  )                 Civil Action No. XXXXXX
                                          )
                                          )
CYBERROOT RISK ADVISORY                   )
      PRIVATE LIMITED,                    )
VIBHOR SHARMA,                            )
                                          )
              Defendants.                 )
__________________________________________)


                                         COMPLAINT

       1.    Plaintiff, Farhad Azima, by and through his undersigned counsel, files this Complaint

against CyberRoot Risk Advisory Private Limited (“CyberRoot”) and Vibhor Sharma (“Sharma”)

and alleges as follows:

                                       INTRODUCTION

       2.    Over the course of more than two years, Defendants conducted a prolonged hacking

of Plaintiff Farhad Azima and stole Azima’s computer data, including emails and trade secrets.

The stolen data was then published online and used by Defendants and others, on behalf of the Ras

Al Khaimah Investment Authority (“RAKIA”), in order to ruin Azima’s reputation and damage

him financially.

       3.    Defendants conspired and coordinated with Vital Management Services Inc.

(“Vital”), and its owner and sole employee Nicholas Del Rosso. Upon information and belief,




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Vital and Del Rosso were engaged and paid by Dechert LLP LLP, which represented RAKIA in a

dispute with Azima.

       4.    RAKIA, the state investment entity for the government of Ras Al Khaimah, hired

individuals and companies, directly and through Dechert LLP, to investigate Azima, hack his

computers, steal his private data, and weaponize that data to ruin Azima. Those individuals and

companies included Stuart Page in the United Kingdom and Del Rosso and Vital in the United

States. Del Rosso and Vital hired Defendants to carry out the hacking of Azima.

       5.    Defendant CyberRoot is located in Gurgaon, India and engages in illegal hacking.

Defendant Sharma is a director of CyberRoot.

       6.    BellTroX Info Tech Services (“BellTroX”) assisted Defendants in hacking Azima.

BellTroX is a hacking company based in New Delhi, India. According to a June 9, 2020 Thomson

Reuters press report, BellTroX was involved in “one of the largest spy-for-hire operations ever

exposed,” helping clients spy on more than 10,000 email accounts over a period of seven years.

On February 11, 2015, the founder and owner of BellTroX, Sumit Gupta, was indicted by the

United States Department of Justice in the Northern District of California for hacking. Mr. Gupta

remains at large.

       7.    In its investigation of ‘hack-for-hire’ organizations (including BellTroX), Thomson

Reuters reviewed a cache of data revealing “tens of thousands of malicious messages designed to

trick victims into giving up their passwords” – phishing and spear phishing emails – that BellTroX

distributed between 2013 and 2020. Upon information and belief, the data cache revealed that

email accounts belonging to Azima and his associates were among the accounts targeted by the

BellTroX/CyberRoot phishing operation.




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       8.    Defendants sent Azima phishing and spear-phishing emails and successfully induced

Azima to unwittingly provide them with passwords for his accounts. The successful hack gave

Defendants persistent access to Azima’s computers and email accounts, and Defendants obtained

real-time access to Azima’s emails. Defendants disclosed Azima’s stolen data on internet blog

sites they created. Those blog sites contained links to BitTorrent sites and WeTransfer sites, set

up by the Defendants, that contained substantial quantities of Azima’s stolen data.

       9.    Defendants were paid more than $1 million for the hacking of Azima and

dissemination of his stolen data. The work done by Defendants, assisted by Bell TroX, was paid

for and done at the direction of the Del Rosso, Vital, and others.

       10.   Defendants hacked Azima because they were hired to do so on behalf of RAKIA by

Del Rosso and Vital, who were hired by Dechert LLP and partner Neil Gerrard. Dechert LLP

represented RAKIA in a dispute with Azima, and Gerrard wanted Azima’s stolen data to use in a

suit to be brought by RAKIA against Azima in England. Page, Del Rosso, Gerrard, and RAKIA’s

manager James Buchanan created a false evidentiary trail to cover up their and RAKIA’s

responsibility for the hacking, and to suggest that Page had innocently found the hacked material

on BitTorrents. RAKIA brought the lawsuit against Azima using the hacked material. The

hacking was a defense raised by Azima, as well as forming the basis for a counterclaim by Azima.

       11.   Following a January 2020 trial in the U.K., the English court ruled that RAKIA, Page,

and others had lied about how they obtained Azima’s stolen data. Del Rosso, who paid the

Defendants to hack Azima, gave a sworn witness statement and sworn trial testimony denying any

knowledge of how the stolen emails were obtained. The sworn witness statement and sworn

testimony were both false. Defendants and others hacked Azima at the direction of Vital, Del

Rosso, and others, and provided Azima’s stolen data directly to Vital and Del Rosso to be used by




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Dechert LLP against Azima. RAKIA’s lawyers, including Dechert LLP, had also asserted (in

formal correspondence, witness evidence and pleadings signed by those lawyers) that RAKIA had

innocently discovered the materials on the internet. Those assertions were also false, given the

Judge’s ruling.

       12.   As a result of the conduct of CyberRoot, Sharma, and their co-conspirators, Azima

has suffered significant financial and reputational damage.

                                            PARTIES

       13.   Plaintiff Azima is a U.S. citizen who resides and works in Kansas City, Missouri. He

is a successful businessman who has owned and operated multiple aviation-related companies.

Azima’s businesses engage in interstate and foreign commerce. All of Azima’s computers and

servers were and are located in the United States.

       14.   Defendant CyberRoot is a limited company incorporated under the laws of India

(registration number 50078) with its registered address at House Number-791, 10a, Sector Rd,

IOC Colony, Sector 10A, Gurugram, Haryana 122003, India. CyberRoot is a cybersecurity actor

and investigation firm. In its original Memorandum of Association, an object of CyberRoot was

stated to be “to carry on the business of … hacking.”

       15.   Defendant Sharma is a director of CyberRoot and has been since 2 May 2014.

       16.   Vital is a one-man private investigation company. Del Rosso is the owner and sole

employee of Vital. Del Rosso is the president and owner of Vital, and he is one of two shareholders

of Vital, along with his wife. Vital and Del Rosso are both located in North Carolina.

                                             FACTS

                                       Hacking of Azima

       17.   Starting in early 2015, Gerrard, Page, Buchanan, and others agreed to attack Azima.

The agreement is evidenced by a redacted internal “Project Update” report dated March 26, 2015,


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presented by Page to the Ruler of RAK and provided to Buchanan and others, as well as numerous

emails between Gerrard, Buchanan, and their associates, some of which discussed the plan to

“target,” “attack,” and “go after” Azima using “another channel.” Based on these emails, an

English court concluded that the desire to attack Azima in the summer of 2015 “is clear.” The

Project Update report claimed Azima was part of a “US team” to publicize human rights abuses

by RAK and Gerrard. The report stated that “The campaign is not public yet, so we will be able

to gather intelligence on their progress in order to monitor their activities and attempt to contain

or ruin their plans.” Gerrard admitted to reading this report.

       18.   Gerrard hired Del Rosso and Vital. Upon information and belief, Del Rosso was

hired to target Azima and to obtain Azima’s emails and confidential data, and for other purposes;

and Page was retained to assist in the targeting of Azima, which upon information and belief

included hacking Azima. Del Rosso hired the Defendants to lure Azima into providing his login

data, so that Defendants and their co-conspirators could have persistent access to Azima’s accounts

and computers.

       19.   At least five employees of CyberRoot, including Sharma, hacked Azima pursuant to

Del Rosso’s instructions. CyberRoot was assisted by BellTroX, which permitted Defendants to

use BellTroX’s infrastructure, including its server, to hack Azima and Massaad at the direction of

Del Rosso and others. Cyberroot and BellTroX also share common employees. One such

employee is Mr Preeti Thapiyal whose LinkedIn page lists his work as including the creation of

“undetectable phishing Payloads.”

       20.   Defendants, assisted by BellTroX, attempted to gain access to Azima’s computers

and accounts through phishing and spear-phishing emails. They sent Azima phishing emails to

harvest his credential and gain access to his email accounts and computers. Azima complied, and




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unwittingly enabled Defendants to gain access to Azima’s email accounts and computers. The

breach of Azima’s computer systems gave Defendants covert and persistent access to Azima’s

email accounts and computers. Defendants also successfully hacked Forsan Ceramics, a company

of Massaad’s that is based in Saudi Arabia.

       21.     Defendants, Del Rosso, Vital, and other co-conspirators, including Dechert LLP,

Gerrard, and Page, obtained numerous confidential and protected trade secrets belonging to Azima

and his companies, including but not limited to privileged and confidential legal communications

and advice and confidential internal pricing lists relating to food transport for U.S. troops in

Afghanistan.

                                    Disclosure of Azima’s Data

       22.     Defendants created, uploaded, and transmitted multiple unauthorized copies of

Azima’s data. Upon information and belief, some of that data was provided to Del Rosso, who

was located in the United States.

       23.     In late July 2016, Gerrard met with Azima and threatened him. Within days of

Gerrard’s meeting with Azima, on or about August 7, 2016, Defendants created blog sites accusing

Azima of fraud. The blog sites contained links to BitTorrent sites that Dechert LLP later admitted

contained large quantities of Azima’s stolen data. These BitTorrent links were posted by users

named anjames and an_james, which are usernames associated with Sharma at CyberRoot.

Defendants also used the email account an_james@protonmail.ch to create these blog sites and

upload Azima’s stolen data. During this same period, Del Rosso made significant payments to

Defendants for their efforts.

       24.     Defendants posted the data on the internet to create the misimpression that the data

they stole from Azima were available to anyone who used the internet. Defendants created




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BitTorrent links that contained Azima’s stolen data and those links were posted on the blog sites

alleging fraud by Azima. Page, Del Rosso, Gerrard, and an Israeli journalist, Majdi Halabi, created

a false story and evidentiary trail to cover up their and RAKIA’s responsibility for the hacking,

and to suggest that Page had innocently found the hacked material on BitTorrents after being

alerted to it by Halabi.

        25.   In fact, the data on the BitTorrent links were not accessible to the public because the

‘seeders’1 necessary for the data to be downloaded were not available. Dechert LLP, and others

acting at their direction, are the only persons or entities known to have obtained the data from the

BitTorrent sites.

        26.   In May and June 2018, the blog sites were modified to include new links to

WeTransfer sites that contained copies of Azima’s stolen data.

        27.   Defendants regularly used WeTransfer links to transfer data to Vital. Defendants set

up the WeTransfer account using the email account an_james@protonmail.ch.

        28.   In June 2019, the links on the blog sites were modified to include new WeTransfer

links containing some of Azima’s stolen data. These links, as with all the links to copies of

Azima’s stolen data, were not authorized by Azima.

        29.   Del Rosso and Vital paid Defendants more than $1 million for their hacking services

and the distribution of Azima’s stolen data. The payments were made by Del Rosso and Vital to

CyberRoot’s bank, Kotak Mahindra Bank. Substantial payments were made to CyberRoot around

the time that Azima’s stolen data was published online.


                                          JURISDICTION


1 A torrent seeder is a user who owns the file being made available online through the torrent system.
Without a seeder, a file cannot be downloaded.



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       30.   This Court has federal question subject matter jurisdiction pursuant to 28 U.S.C.

§ 1331. Some of Azima’s claims arise under federal law, including the Wiretap Act (Counts 1 and

2) and misappropriation of trade secrets under the Defend Trade Secrets Act and the Economic

Espionage Act (Count 3).

       31.   The Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Azima’s

other claims, since those other claims relate to the federal statutory claims in this action and form

part of the same case or controversy under Article III of the United States Constitution.

       32.   Additionally, this Court has diversity subject matter jurisdiction pursuant to 28

U.S.C. § 1332 because Azima and Defendants are from different states and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

       33.   Under North Carolina common law, co-conspirators have sufficient connections to

the forum state for personal jurisdiction where “substantial acts in furtherance of the conspiracy

were performed in the forum state and the co-conspirator knew or should have known that acts

would be performed in the forum state.” Gemini Enterprises, Inc. v. WFMY Television Corp., 470

F.Supp. 559, 562-565 (M.D.N.C. 1979). Defendants Sharma and CyberRoot plotted substantial

acts in furtherance of the conspiracy against Azima with Del Rosso and Vital, both of which are

based in North Carolina. Del Rosso and Vital paid Defendants Sharma and CyberRoot more than

$1 million to carry out the conspiracy to hack Azima. Upon information and belief, those payments

went through a North Carolina bank, and the instructions to pay Defendants came from Del Rosso

and Vital in North Carolina.

       34.   The Court’s jurisdiction over Defendants comports with due process. The Court has

personal jurisdiction over Defendants Sharma and Cyberroot, who have conspired with North

Carolina residents Del Rosso, Vital, and others to harm Azima. From North Carolina, Del Rosso




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and Vital hired Sharma and Cyberroot to launch a computer hack of Azima, in furtherance of the

conspiracy to retaliate against and discredit Azima.

                                             VENUE

        35.   Venue is proper under 18 U.S.C. § 1965(a) because the Defendants transact their

affairs in this Judicial District. Defendants Sharma and Cyberroot both received instructions and

payments in U.S. dollars from Chapel Hill, North Carolina, with Azima’s causes of action arising

out of those North Carolina transactions.

        36.   Venue is also proper under 28 U.S.C. § 1391(b)(2) because this is a judicial district

in which a substantial part of the events or omissions giving rise to the claim occurred. Defendants

Sharma and Cyberroot conspired with Del Rosso, Vital, and others in Chapel Hill, North Carolina

to coordinate their illegal campaign to hack Azima and publish his stolen data.

        37.   Venue is also proper under 28 U.S.C. § 1391(b)(3) because this judicial district has

personal jurisdiction over all defendants.



                                COUNT ONE (All Defendants)

  I.    Disclosure of Wire, Oral, or Electronic Communications under the Wiretap Act (18
        U.S.C. §§ 2511(1)(c) and 2520)

        38.   Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs.

        39.   Under 18 U.S.C. § 2511(c), any person who “intentionally discloses, or endeavors to

disclose, to any other person the contents of any wire, oral, or electronic communication, knowing

or having reason to know that the information was obtained through the interception of a wire,

oral, or electronic communication.”




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       40.   “Intercept” is defined as “the aural or other acquisition of the contents of any wire,

electronic, or oral communication through the use of any electronic, mechanical, or other device.”

18 U.S.C. § 2510(4).

       41.   “Electronic communication” means any transfer of signs, signals, writing, images,

sounds, data, or intelligence of any nature transmitted in whole or in part by a wire, radio,

electromagnetic, photoelectronic, or photooptical system that affects interstate or foreign

commerce.”

       42.   In violation of 18 U.S.C. § 2511(1)(c), Defendants CyberRoot and Sharma

intentionally disclosed wire and electronic communications of Azima knowing and/or having

reason to know that the information was obtained through interception.

       43.   In coordination with Del Rosso, Vital, and others, Defendants intentionally disclosed

large quantities of Azima’s intercepted data on BitTorrent and WeTransfer. Links to those

BitTorrent and WeTransfer sites were added to the blog sites Defendants created. Cyber Root

worked with Bell Trox to conduct the hacking and post the intercepted data. The intercepted data

included, among other things, business and personal electronic communications between Azima

and others across the United States and around the world.

       44.   In 2015, Defendants hacked Azima’s computers and email accounts through phishing

and spear-phishing emails. The hack gave Defendants persistent access to Azima’s computers and

email accounts.

       45.   After Gerrard threatened Azima in 2016, Defendants disclosed Azima’s stolen data

online. Defendants created multiple websites accusing Azima of fraud. On those websites,

Defendants published Azima’s stolen data through BitTorrent and WeTransfer links.              The

BitTorrent and WeTransfer links were posted by users named anjames and an_james, which are




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usernames associated with Sharma at CyberRoot. Defendants also used the email account

an_james@protonmail.ch to create these blog sites and upload Azima’s stolen data. The links

were updated as recently as 2019.

        46.   Defendants had reason to know that the information was obtained through

interception because Defendants intercepted Azima’s data. The hacking of Azima’s data resulted

in persistent access to Azima’s computers and email accounts.

        47.    As a result of the disclosure of Azima’s intercepted data, Azima suffered damages.

Since at least June 2018, the stolen data has continued to be publicly available on WeTransfer

through links that were posted to the blog sites created by the Defendants, resulting in more than

$75,000 of statutory damages under 18 U.S.C. § 2520(c)(2)(B), and further monetary damages in

an amount to be proven at trial. Defendants have made significant profits from the disclosure of

Azima’s data, having been paid large sums of money to disclose the stolen data to damage Azima.

As a result of the continued disclosure of Azima’s stolen data, Azima has suffered, and will

continue to suffer, irreparable harm to his person, reputation, business, and community standing.



                               COUNT TWO (all Defendants)

 II.    Conspiracy to Disclose and Use Intercepted Wire, Oral, or Electronic
        Communications under the Wiretap Act (18 U.S.C. §§ 2511(1)(d) and 2520, 18
        U.S.C. § 371)

        48.   Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs.

        49.   Defendants willfully, intentionally, and knowingly agreed and conspired with Del

Rosso, Vital, and others to disclose Azima’s intercepted data in violation of 18 U.S.C. §§ 2511

and 2520. Among other things, Defendants agreed and conspired with Del Rosso, Vital, and others




                                               11


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to intercept Azima’s data through a phishing and spear-phishing campaign resulting in the

Defendants obtaining persistent access to Azima’s computers and email accounts. Defendants also

agreed and conspired with Del Rosso, Vital, and others to disclose the intercepted data. Del Rosso,

Vital, and others instructed Defendants to publish the data on blog sites that were created by

Defendants. Defendant used BitTorrent and WeTransfer to send the stolen data to Defendants Del

Rosso and Vital, as well as other co-conspirators. The BitTorrent and WeTransfer links were

posted by users named anjames and an_james, which are usernames associated with Sharma at

CyberRoot. Defendants also used the email account an_james@protonmail.ch to create these blog

sites and upload Azima’s stolen data. The links were updated as recently as 2019. Del Rosso and

Vital paid Defendants more than $1 million for the interception and publication of Azima’s data.

        50.   Defendants, with full knowledge that they were engaged in wrongful actions, took

steps in furtherance of the conspiracy, including receiving more than $1 million from Del Rosso

to conduct the hacking.

        51.   Azima has been injured and has suffered monetary damages as a result of Defendants’

conspiratorial actions in an amount to be proven at trial. As a result of the Defendant’s conspiracy

to disclose and use Azima’s intercepted data, Azima has suffered, and will continue to suffer,

irreparable harm to his person, reputation, business, and community standing.

                                COUNT THREE (All Defendants)

III.    Misappropriation of Trade Secrets, 18 U.S.C. §§ 1831, 1832, 1836

        52.     Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs.

        53.     Federal law creates a cause of action against “[w]hoever, with intent to convert a

trade secret, that is related to a product or service used in or intended for use in interstate or foreign




                                                   12


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commerce, to the economic benefit of anyone other than the owner thereof, and intending or

knowing that the offense will, injure any owner of that trade secret, knowingly . . . steals, or without

authorization appropriates, takes, carries away, or conceals, or by fraud, artifice, or deception

obtains” trade secrets. 18 U.S.C. § 1832(a)(1).

        54.     Federal law imposes criminal penalties on “whoever . . . conspires with one or more

other persons” to violate § 1832(a)(1). See § 1832(a)(5).

        55.     Federal law also creates a cause of action against “[w]hoever, intending or knowing

that the offense will benefit any foreign government, foreign instrumentality, or foreign agent,

knowingly – (1) steals, or without authorization appropriates, takes, carries away, or conceals, or

by fraud, artifice, or deception obtains a trade secret.” 18 U.S.C. § 1831(a)(1).

        56.     Federal law imposes penalties on “[w]hoever . . . conspires with one or more other

persons to commit” the offense listed in § 1831(a)(1). See § 1831(a)(5).

        57.     “An owner of a trade secret that is misappropriated may bring a civil action . . . if

the trade secret is related to a product or service used in, or intended for use in, interstate or foreign

commerce.” 18 U.S.C. § 1836(b)(1).

        58.     Azima’s email accounts stored secrets including but not limited to highly

confidential business plans and proposals, research supporting those plans and proposals including

costs and service projections, information concerning business strategies and opportunities, and

contacts for important business relationships. These trade secrets are substantially valuable to

Azima, in excess of $75,000, as will be proven at trial.

        59.     Azima stored trade secrets that were used in interstate and foreign commerce.

Azima has taken and continues to take reasonable measures to keep this information secret. For




                                                   13


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example, Azima has always maintained his information on secured servers that are protected by

passwords, firewalls, and antivirus software.

         60.   Azima’s trade secrets drive independent actual and potential economic value from

being generally known or available to the public or other persons who can obtain economic value

from their disclosure or use.

         61.   Azima’s trade secrets have significant value, resulting from substantial investment

of time and resources.

         62.   Azima has made, and continues to make, efforts that are reasonable under the

circumstances to maintain the secrecy of his trade secrets.

         63.   Defendants, along with other co-conspirators, unlawfully conspired with Del

Rosso, Vital, and others to take, appropriate, and obtain Azima’s trade secrets without

authorization, by means of a cyberattack against him. Defendants and their co-conspirators knew

that Azima’s email accounts contained trade secrets and intended to steal them in order to harm

Azima.

         64.   Defendants improperly disclosed and misappropriated Azima’s trade secrets

without consent or authorization when acted on instructions to hack Azima, steal copies of his

data, including trade secrets, and distribute the data through BitTorrent and WeTransfer links on

blogs created by CyberRoot.

         65.   As a direct consequence of the unlawful actions of Defendants and their co-

conspirators, Azima has suffered damages, which include, but are not limited to, loss of business

goodwill, loss in the value of his trade secrets and confidential business information, and harm to

Azima’s business, in an amount to be proven at trial. See 18 U.S.C. § 1836(b)(3)(B)(i)(I).

Defendants’ acts of misappropriation have affected interstate commerce.




                                                14


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       66.     As a direct consequence of the unlawful actions of Defendants and their co-

conspirators, Defendants have unjustly benefited from their possession of Azima’s trade secrets.

Defendants were paid more than $1 million to hack Azima, steal his data, including his trade

secrets, and publish his stolen data.

       67.     Defendants’ conduct was willful and malicious.

                                COUNT FOUR (All Defendants)

IV.    Computer Trespass (N.C. Gen. Stat. § 14-458)

       68.     Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs.

       69.    In violation of N.C. Gen. Stat § 14-458, Defendants knowingly and without

authorization or reasonable grounds used Azima’s computer and computer network with the intent

to make or cause to be made unauthorized copies of Plaintiff’s computer data.

       70.    Defendants conspired with others to use Azima’s computer and computer network

without authorization to make copies of Plaintiff’s trade secrets, confidential business information,

and personal information and communications that would provide leverage over Plaintiff.

       71.    Del Rosso, Vital, and others instructed Defendants to hack Azima’s computer and

computer network. Defendants, which was assisted by BellTroX, carried out the hack on Azima

and gained access to Azima’s computer and computer network. The breach of Azima’s computer

systems gave Defendants persistent access to Azima’s email accounts and computers. Thus

Defendants, acting at the direction of Del Rosso, Vital, and others, regularly used Azima’s

computer and computer networks to make unauthorized copies of Azima’s computer data. Del

Rosso and Vital paid Defendants more than $1 million for their hacking services.

                                 COUNT FIVE (All Defendants)




                                                 15


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 V.    Conversion

       72.    Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs.

       73.    Defendants directly and/or through their agents, knowingly and without authorization

or reasonable grounds, wrongfully possessed and converted computer data, documents,

spreadsheets, communications, and other files owned by the Plaintiff.

       74.    Under North Carolina law, conversion occurs when a defendant wrongfully possesses

or converts property under the ownership of the Plaintiff.

       75.    Defendants conspired to wrongfully obtain possession of Plaintiff’s computer data,

documents, spreadsheets, communications, and other files owned by the Plaintiff.

       76.    As discussed in more detail above, Del Rosso, Vital, and others instructed Defendants

to hack Azima and make unauthorized copies of Azima’s computer data. At the direction of Del

Rosso, Vital, and others, Defendants successfully hacked Azima and obtained persistent access to

Azima’s email accounts and computers. Thus Defendants, acting at the direction of Del Rosso,

Vital, and others, regularly used Azima’s computer and computer networks to make unauthorized

copies of Azima’s computer data. Del Rosso and Vital paid Defendants more than $1 million for

their hacking services.

                                 COUNT SIX (All Defendants)

VI.    Identity Theft (N.C. Gen. Stat. § 14-113.20 and § 1-539.2(c))

       77.    Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs.

       78.    Defendants knowingly and without authorization or reasonable grounds, obtained,

possessed, and used identifying information of Plaintiff with the intent to fraudulently represent




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that Defendants were the Plaintiff for the purposes of obtaining materials of value, benefit, and

advantage.

        79.   Pursuant to N.C. Gen. Stat. § 14-113.20, “identifying information” is defined to

include “passwords;” “electronic identification numbers, electronic mail names or addresses,

Internet account numbers, or Internet identification names;” and “any other numbers or

information that can be used to access a person’s financial resources.”

        80.   Defendants conspired with Del Rosso, Vital, and others to obtain, possess, and use

Plaintiff’s identifying information – including electronic mail passwords – for the purposes of

obtaining trade secrets, confidential business information, and personal information and

communications that would provide leverage over Plaintiff.

        81.   At the direction of Del Rosso, Vital, and others, Defendants sent Azima phishing

emails asking him to reset his password. Azima complied, and unwittingly permitted Defendants

to gain access to Azima’s email accounts and computers. The persistent access to Azima’s email

accounts and computers allowed Defendants, at the direction of Del Rosso, Vital, and others, to

use Azima’s email addresses and passwords to obtain substantial quantities of Azima’s private

data, including trade secrets, confidential business information, and personal information and

communications.

                              COUNT SEVEN (All Defendants)

VII.    Publication of Personal Information (N.C. Gen. Stat. § 75-66)

        82.    Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs.




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         83.    Defendants knowingly broadcast or published personal information of Azima’s

 over the internet with actual knowledge that Azima objected to any such disclosure and without

 Azima’s consent or knowledge.

         84.    Defendants published Azima’s private information on blog sites hosting

 WeTransfer links in May and June of 2018, and again in June of 2019.

         85.    This personal information included, among others, checking account numbers,

 passwords, and other numbers and information that can be used to access Azima’s financial

 resources.

         86.    Among other documents, Defendants published financial transaction records,

 spreadsheets, business records, and banking information – all marked confidential.

         87.    Defendants’ publication of Azima’s personal information on the internet despite

 Azima’s objection and without Azima’s consent or knowledge directly and proximately caused

 actual injury to Plaintiff.

         88.    Azima is entitled to damages for each of Defendants’ unlawful acts of publication

 of personal information in accordance with N.C. Gen. Stat. § 1-539.2(c).

                               COUNT EIGHT (All Defendants)

VIII.    Violation of Trade Secrets Protection Act (N.C. Gen. Stat. § 66-153)

         89.    Plaintiff incorporates by reference the allegations contained in the preceding

 paragraphs.

         90.   Azima’s email accounts and computer systems contained business or technical

 information, formulas, patterns, programs, devices, compilations of information, methods,

 techniques, or processes. This information included highly confidential business plans and

 proposals, research supporting those plans and proposals (including costs and service projections),




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information concerning business strategies and opportunities, and contacts for important business

relationships. This information constituted trade secrets under Chapter 66 of the North Carolina

General Statutes.

        91.     Azima derived independent actual or potential commercial value from these trade

secrets not being generally known or readily ascertainable through independent development or

reverse engineering by persons who can obtain economic value from their disclosure or use.

        92.   Azima has undertaken and continues to undertake reasonable efforts under the

circumstances to maintain the secrecy of his trade secrets. For example, Plaintiff has always

maintained his information on secured servers that are protected by passwords, firewalls, and

antivirus software.

        93.   Azima’s trade secrets are substantially valuable to Plaintiff, in excess of $75,000, as

will be proven at trial.

        94.   Azima kept trade secrets that were used in interstate and foreign commerce.

        95.   Azima’s trade secrets have significant value, resulting from substantial investment of

time and resources. If known to Azima’s competitors, Plaintiff’s trade secrets would be of value

to those competitors.

        96.   Azima’s trade secrets included, among others, confidential internal price lists and

confidential spreadsheets connected to contracts with the United States government to supply

troops in Afghanistan.

        97.   Defendants Sharma and CyberRoot, along with Del Rosso, Vital, Dechert LLP, Page,

and others, unlawfully conspired to acquire, disclose, or use Azima’s trade secrets without express

or implied authority or consent by means of a cyberattack against Azima. Defendants Sharma and

CyberRoot and their co-conspirators knew that Azima’s email accounts and computer systems




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contained trade secrets and intended to steal them in order to harm Azima. Defendants did not

arrive at Azima’s trade secrets by means of independent development, reverse engineering, or by

obtaining them from a person or entity with a right to disclose any of the trade secrets.

        98.     Defendants Sharma and CyberRoot improperly acquired, disclosed, or used

Azima’s trade secrets without consent or authorization when they hacked Azima, steal copies of

his data, including trade secrets, and distribute the data through BitTorrent and WeTransfer links

on blogs Defendants created.

        99.   Defendants’ conduct in acquiring, disclosing, or using Azima’s trade secrets was

willful and malicious and part of a deliberate, clandestine strategy to injure Azima.

        100. Azima discovered that Defendants misappropriated his trade secrets on or about (date

after an investigation that began after revelations at the UK trial, etc.).

        101. As a direct consequence of the unlawful actions of Defendants Sharma and

CyberRoot and their co-conspirators, Azima has suffered damages, including but are not limited

to loss of business goodwill, loss in the value of his trade secrets and confidential business

information, and harm to Azima’s business, in an amount to be proven at trial. Defendants’ acts of

misappropriation have affected interstate commerce.

        102. As a direct consequence of the unlawful actions of Defendants Sharma and

CyberRoot, and their co-conspirators, Defendants Sharma and CyberRoot have unjustly benefited

from their possession of Azima’s trade secrets. Upon information and belief, Defendants Sharma

and CyberRoot, who were engaged by Dechert LLP through Del Rosso and Vital, were paid

substantial sums of money by Dechert LLP to conspire to misappropriate Azima’s trade secrets.

        103. Defendants’ conduct in misappropriating Azima’s trade secrets as described above

directly and proximately caused actual injury to Azima.




                                                  20


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        104.   Because Defendants’ conduct was willful and malicious, Azima is entitled to

punitive damages pursuant to N.C. Gen. Stat. § 66-154(c).

        105.   Because Defendants’ conduct was willful and malicious, Azima is entitled to

reasonable attorney’s fees under N.C. Gen. Stat. § 66-154(d).

                                 COUNT NINE (All Defendants)

IX.     Unfair and Deceptive Trade Practices (N.C. Gen. Stat. § 75-1.1)

        106.   Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs.

        107.   Defendants’ conduct in sending Azima phishing and spear phishing emails in an

effort to access his emails, computers, communications, confidential information, personal

information, trade secrets, and other data constitutes an unfair and deceptive act or practice in

violation of N.C. Gen. Stat. § 75-1.1.

        108.   Defendants’ conduct in accessing Azima’s emails, computers, communications,

confidential information, personal information, trade secrets, and other data without his consent or

knowledge constitutes an unfair and deceptive act or practice in violation of N.C. Gen. Stat. § 75-

1.1.

        109.    Defendants’     conduct    in   publishing    or   distributing   Azima’s     emails,

communications, confidential information, personal information, trade secrets, and other data on

the internet constitutes an unfair and deceptive act or practice in violation of N.C. Gen. Stat. § 75-

1.1.

        110.   Defendants committed conduct in or affecting commerce by (1) sending Azima

phishing and spear phishing emails, (2) accessing Azima’s emails, computers, communications,

confidential information, personal information, trade secrets, and other data without his consent or




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knowledge, and (3) publishing or distributing Azima’s emails, communications, confidential

information, personal information, trade secrets, and other data on the internet.

         111.   Defendants committed conduct that was unfair and deceptive by (1) sending

Azima phishing and spear phishing emails, (2) accessing Azima’s emails, computers,

communications, confidential information, personal information, trade secrets, and other data, and

(3) publishing Azima’s emails, communications, confidential information, personal information,

trade secrets, and other data on the internet.

         112. Defendants’ conduct in committing the unfair and deceptive acts or practices as

described above was willful and malicious and part of a deliberate, clandestine strategy to injure

Azima.

         113. Defendants’ conduct in committing the unfair and deceptive acts or practices as

described above directly and proximately caused actual injury to Azima.

         114. Plaintiff discovered that Defendants committed unfair and deceptive acts or practices

that injured him on or about August 28, 2020 following an investigation.

         115.   Because Defendants’ conduct constituted unfair and deceptive acts or practices

under N.C. Gen. Stat. § 75-1.1, Plaintiff’s damages should be trebled pursuant to N.C. Gen. Stat.

§ 75-16.

         116.   Because Defendants’ conduct constituted unfair and deceptive acts or practices

under N.C. Gen. Stat. § 75-1.1 and Defendants willfully and maliciously engaged in that conduct,

Plaintiff is entitled to recover reasonable attorney’s fees pursuant to N.C. Gen. Stat. § 75-16.1.

                                  COUNT TEN (All Defendants)

 X.      Civil Conspiracy (North Carolina Common Law)




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       117. Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs.

       118. Defendants knowingly and without authorization or reasonable grounds, wrongfully

entered an agreement to commit unlawful acts resulting in injury to Azima by conspirators

pursuant to a common scheme of stealing Azima’s confidential information to use against him.

       119. Under North Carolina law, a civil conspiracy occurs when there is an agreement

between two or more individuals to do an unlawful act or to do a lawful act in an unlawful way,

resulting in injury to a plaintiff inflicted by one or more of the conspirators pursuant to a common

scheme.

       120. Defendants entered into an agreement with Del Rosso, Vital, and others.

       121. Under this agreement, Defendants would send phishing emails to induce Azima to

reveal his passwords. Defendants would then use Azima’s passwords to gain access to Azima’s

confidential information and copy the information for widespread publication. Del Rosso and Vital

paid Defendants more than $1 million for these actions. Upon information and belief, Del Rosso

and Vital were contracted and paid by Dechert LLP, on behalf of RAKIA.

       122. Because of Defendants’ successful and unlawful phishing campaign against Azima,

Azima had confidential information publicly exposed, suffered harm to business relationships, and

suffered misappropriation of numerous trade secrets.

       123. Defendants, Del Rosso, and Vital engaged in this conspiracy pursuant to a common

scheme of damaging Azima and tarnishing his reputation.


                                     PRAYER FOR RELIEF




                                                23


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On the basis of the foregoing, and such evidence as Plaintiff will present at trial, Plaintiff requests

the entry of judgment in his favor and against Defendants on all counts of the Complaint and the

award of the following relief

        1.   Compensatory damages incurred by Plaintiffs as a result of the actions of Defendants,

in an amount to be determined at trial.

        2.   Statutory damages, in an amount to be determined at trial, including treble damages.

        3.   A mandatory injunction requiring Defendants to remove and return of Plaintiff’s data

from any computers, servers, or websites.

        4.   A prohibitory injunction obligating Defendants to refrain in the future from

committing tortious acts against Plaintiff.

        5.   Pre-judgment and post-judgment interest in the amounts and at the rates provided by

law.

        6.   Costs and expenses, including reasonable attorney’s fees, incurred by Plaintiff in this

action and as a result of the actions of Defendants alleged herein.

        7.   Such other and further relief as the Court deems just and proper.



                                          JURY DEMAND


Plaintiff Farhad Azima respectfully requests a trial by jury of all issues so triable.




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Dated: XXXX, 2020                 Respectfully submitted,


                                  /s/ Kirby D. Behre
                                  Kirby D. Behre ()
                                  Brian Hill ()
                                  Tim O’Toole ()
                                  Ian Herbert ()
                                  Calvin Lee ()
                                  Miller & Chevalier Chartered
                                  900 16th Street, NW
                                  Washington, D.C. 20006
                                  Telephone: (202) 626-5800
                                  Fax: (202) 626-5801
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                                  WOMBLE BOND DICKINSON (US) LLP

                                  Christopher W. Jones
                                  North Carolina Bar No. 27625

                                  Ripley Rand
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                                  555 Fayetteville Street, Suite 1100
                                  Raleigh, North Carolina 27601
                                  Phone: 919-755-2100
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                                                 ripley.rand@wbd-us.com




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                         Exhibit 2
 (Witness Statement of Ian Herbert)




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                                                               Filed on behalf of: Counterclaimant / Applicant
                                                                                      Witness: Ian A. Herbert
                                                                                                    Number: 1
                                                                                                 20 July 2023
                                                                                                Exhibit IAH1

            IN THE HIGH COURT OF JUSTICE                                          Case No. HC-2016-002798
            BUSINESS AND PROPERTY COURTS
            OF ENGLAND AND WALES
            BUSINESS LIST (ChD)


            Assigned to: THE HON MR JUSTICE MICHAEL GREEN


            BETWEEN:

                                   RAS AL KHAIMAH INVESTMENT AUTHORITY
                                                       Claimant and Defendant to Counterclaim
                                                             -and-

                                                       FARHAD AZIMA
                                                              Defendant, Counterclaimant and Applicant
                                                             -and-

                                                  DAVID NEIL GERRARD
                                                          Second Additional Defendant to Counterclaim
                                                             -and-

                                                        DECHERT LLP
                                                             Third Additional Defendant to Counterclaim
                                                             -and-

                                      JAMES EDWARD DENISTON BUCHANAN
                                                    Fourth Additional Defendant to Counterclaim


                                                             -and-

                                         STOKOE PARTNERSHIP SOLICITORS
                                                                                                 Respondent

            ___________________________________________________________________________


                                    WITNESS STATEMENT OF IAN A. HERBERT

            ___________________________________________________________________________
                                                              1



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            I, Ian A. Herbert, of Miller & Chevalier Chartered, of 900 16th Street NW, Black Lives Matter
            Plaza, Washington, D.C. 20006, United States of America, SAY AS FOLLOWS:

            1.     I am counsel at Miller & Chevalier Chartered in Washington, D.C., and I am part of the
                   team that represents Farhad Azima in the United States.

            2.     The facts and matters set out in this statement are within my own knowledge unless
                   otherwise stated, and I believe them to be true. Where I refer to information supplied by
                   others, the source of the information is identified; facts and matters derived from other
                   sources are true to the best of my knowledge and belief.

            3.     There is now produced and shown to me a document marked “Exhibit IAH1” to which
                   reference will be made in the course of this statement in the form ‘[IAH1/[page number]’.

            4.     I make this statement in support of Farhad Azima in connection with his application for a
                   third-party disclosure order against Stokoe Partnership Solicitors (“Stokoe”) in respect of
                   a laptop Mr Nicholas Del Rosso seeks an order in respect of. Below I describe information
                   provided to me and my firm by CyberRoot Group (“CyberRoot”) concerning Mr. Del
                   Rosso.

            5.     Beginning in February 2023, CyberRoot, through its director Vijay Bisht, repeatedly
                   contacted Farhad Azima’s counsel at Miller & Chevalier (“M&C”), Kirby Behre, through
                   the text messaging application Signal, seeking to provide evidence Mr. Bisht said
                   supported Mr. Azima’s case against Vital Management Services and Nicholas Del Rosso
                   concerning the hacking of Mr. Azima. When asked for details about the information
                   CyberRoot wished to share, Mr. Bisht repeatedly insisted upon an in-person meeting to
                   provide CyberRoot’s information. Mr. Azima’s counsel declined to meet in person without
                   CyberRoot first indicating what they were prepared to admit to and what documentary
                   evidence they hold. M&C also asked what CyberRoot hoped to get out of an in-person
                   meeting, and they refused to say.

            6.     Mr. Bisht on behalf of CyberRoot eventually agreed to provide a preview of the evidence
                   CyberRoot possessed. In May 2023, CyberRoot asked M&C to communicate on a
                   messaging application called “Twinme,” a secure and encrypted end-to-end application for
                   (among other things) text messages. CyberRoot then sent M&C a series of text messages
                   on Twinme in which CyberRoot admitted to working with Mr. Del Rosso and others to

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                   successfully phish and hack Mr. Azima and others starting in 2016. Attached as Exhibit 1
                   is a true and correct copy of those text messages as received [IAH1/2-5].

            7.     Specifically, in the text messages, Mr. Bisht, on behalf of CyberRoot, admitted that:

                   7.1. Mr. Del Rosso first contacted CyberRoot in 2015 and asked CyberRoot to hack Mr.
                          Azima.

                   7.2. CyberRoot successfully hacked Mr. Azima and others beginning in 2016.

                   7.3. After obtaining Mr. Azima’s data by hack, CyberRoot sent that data to Mr. Del Rosso
                          via WeTransfer links via encrypted messaging applications.

                   7.4. In June 2016, Mr. Del Rosso asked CyberRoot to transfer the hacked data onto
                          laptops to be delivered to Mr. Neil Gerrard.

                   7.5. Mr. Gerrard instructed CyberRoot (through Mr. Del Rosso) to place the hacked data
                          on the Internet, which CyberRoot did.

                   7.6. In 2017, at Mr. Del Rosso’s instructions, CyberRoot delivered two mobile phones
                          and one iPad to Mr. Del Rosso for secure communication.

                   7.7. Vikash Pandey would be willing to “reverse” his prior witness statement.

            8.     To prove that CyberRoot was behind the hacking that Mr. Del Rosso and Mr. Gerrard
                   ordered, the Twinme text messages from Mr. Bisht also included the passwords of Mr.
                   Azima’s that CyberRoot had used to hack Mr. Azima.

            9.     CyberRoot said that they could provide additional information and corroboration if M&C
                   agreed to meet in person. CyberRoot refused to meet in the U.S. or Europe, and it was
                   eventually agreed that the parties would meet in Tokyo, Japan.

            10.    Kirby Behre and I met with CyberRoot directors Mr. Bisht and Mr. Chiranshu Ahuja in
                   person on June 20-21, 2023, in Tokyo. I recognized Mr. Ahuja from photos available on
                   the Internet. Mr. Bisht and Mr. Ahuja claimed to be speaking for CyberRoot and the
                   remaining director, Mr. Vibhor Sharma. At the meetings, CyberRoot again admitted to
                   hacking Mr. Azima at the direction of Mr. Del Rosso, Mr. Gerrard, and others, starting in
                   2015. CyberRoot provided more detail beyond what was included in the May 2023 text


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                   messages and presented some documentary support. For example, Mr. Bisht and Mr. Ahuja
                   admitted that:

                   10.1. Mr. Del Rosso continued to ask CyberRoot to attempt to target Mr. Azima and others
                          as late as 2020, and CyberRoot did so.

                   10.2. Mr. Del Rosso requested that CyberRoot attempt to hack Mr. Azima in 2019 to assist
                          Mr. Gerrard in an upcoming trial involving Mr. Azima, and CyberRoot did so.

                   10.3. Mr. Del Rosso requested CyberRoot target the email addresses of others, such as
                          cameron@riskprofiling.co.uk during 2018, and CyberRoot did so.

                   10.4. Mr. Del Rosso and Mr. Gerrard instructed CyberRoot to publish Mr. Azima’s stolen
                          data on the Internet, first in 2016 and then again in 2018 and 2019, which CyberRoot
                          did.

                   10.5. In 2017, Mr. Del Rosso stopped paying CyberRoot through Vital Management
                          Services because he was worried about the payments being traced back to him. He
                          used multiple other entities to make payments to CyberRoot, totalling more than $2.3
                          million.

                   10.6. After Mr. Azima sued Mr. Del Rosso in the United States in October 2020, Mr. Del
                          Rosso instructed CyberRoot to destroy all documents, but CyberRoot did not do so.

                   10.7. After this lawsuit was filed, Mr. Del Rosso’s lawyers, including Brandon Neuman
                          and Jeffrey Kelly, pressured Mr. Bisht and Mr. Vikash Pandey to sign false
                          statements denying the hacking of Mr. Azima.

            11.    After CyberRoot’s presentation admitting to hacking and related illegal activity,
                   CyberRoot for the first time explained what it was seeking. CyberRoot said that it wished
                   to be paid $20 million in exchange for documentation backing up the information they had
                   already provided. We rejected it as not being a serious request. CyberRoot also requested
                   “immunity.”

            12.    This week, Mr. Bisht used the settings within Signal and Twinme to delete text messages,
                   including the admissions attached to this statement. Mr. Bisht changed the settings on
                   Signal to delete messages after 24 hours and deleted portions of the text messages on


                                                             4



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                   Twinme attached to this statement, specifically those in which he confessed that
                   CyberRoot hacked Mr. Azima. I therefore prepared this witness statement.




                                                  STATEMENT OF TRUTH

            I believe that the facts stated in this witness statement are true. I understand that proceedings for
            contempt of court may be brought against anyone who makes, or causes to be made, a false
            statement in a document verified by a statement of truth without an honest belief in its truth.

            ……………………………….

            IAN A. HERBERT

            Dated: 20 July 2023




                                                             5



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                                                                                   Case No. HC-2016-002798

                                                                       IN THE HIGH COURT OF JUSTICE

                                                                     BUSINESS AND PROPERTY COURTS
                                                                               OF ENGLAND AND WALES
                                                                                     BUSINESS LIST (ChD)



                                                                        RAS AL KHAIMAH INVESTMENT

                                                                                               AUTHORITY

                                                                    Claimant and Defendant to Counterclaim

                                                                                                         -and-

                                                                                           FARHAD AZIMA

                                                                   Defendant, Counterclaimant and Applicant

                                                                                                         -and-

                                                                                             DECHERT LLP

                                                                Third Additional Defendant to Counterclaim

                                                                                                         -and-

                                                              JAMES EDWARD DENISTON BUCHANAN

                                                              Fourth Additional Defendant to Counterclaim

                                                                                                         -and-

                                                                   STOKOE PARTNERSHIP SOLICITORS

                                                                                                  Respondent



                                                                                      Burlingtons Legal LLP

                                                                                              5 Stratford Place

                                                                                            London W1C 1AX

                                                                                          Ref: DPH25/AZI.3/2

                                                    Solicitors for the Defendant, Counterclaimant and Applicant


                                                               6



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                          Exhibit 3
(Exhibit to Herbert Witness Statement)




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                                                                   Claim no. HC-2016-002798
B E T W E E N:


                     RAS AL KHAIMAH INVESTMENT AUTHORITY
                                             Claimant and Defendant to Counterclaim

                                        -and-
                                    FARHAD AZIMA
                                                           Defendant and Counterclaimant
                                       -and-
                                STUART ROBERT PAGE
                                               First Additional Defendant to Counterclaim
                                       -and-
                                DAVID NEIL GERRARD
                                             Second Additional Defendant to Counterclaim

                                        -and-
                                     DECHERT LLP
                                              Third Additional Defendant to Counterclaim

                                     -and-
                       JAMES EDWARD DENNISTON BUCHANAN
                                           Fourth Additional Defendant to Counterclaim


                 _________________________________________________________



                                     EXHIBIT IAH1


                 ________________________________________________________




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                         Exhibit 4
       (Declaration of Ian Herbert)




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                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    CASE NO. 20-cv-954-WO-JLW

FARHAD AZIMA,

         Plaintiff,                           DECLARATION OF IAN A.
                                             HERBERT IN SUPPORT OF
         v.                                PLAINTIFF’S SUPPLEMENT TO
                                             HIS MOTIONS TO COMPEL
NICHOLAS DEL ROSSO and VITAL               PRODUCTION OF DOCUMENTS
MANAGEMENT SERVICES, INC.,                  (ECF No. 130) AND FURTHER
                                           DEPOSITION TESTIMONY (ECF
         Defendants.                                  No. 188)




        I, Ian A. Herbert, pursuant to 28 U.S.C. § 1746, do hereby declare

under penalty of perjury the following:

1.      I am counsel at the law firm of Miller & Chevalier Chartered, 900 16th

        Street NW, Washington, D.C., 20036. I am a member in good standing of

        the bar of the District of Columbia Bar and I have made a special

        appearance in this Court on behalf of Plaintiff Farhad Azima. ECF No.

        19.

2.      Recently, CyberRoot Group (“CyberRoot”) has provided to me and my

        firm information concerning this matter. I have included in this

        declaration the information that is most relevant to Mr. Azima’s

        Supplement to Plaintiff’s Motion to Compel, but not all information

        provided by CyberRoot.

3.      Beginning in February 2023, CyberRoot, through its director Vijay Bisht,

        repeatedly contacted Farhad Azima’s counsel at Miller & Chevalier

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        (“M&C”), Kirby Behre, through the text messaging application Signal,

        seeking to provide evidence Mr. Bisht said supported Mr. Azima’s case

        against Vital Management Services and Nicholas Del Rosso concerning

        the hacking of Mr. Azima. When asked for details about the information

        CyberRoot wished to share, Mr. Bisht repeatedly insisted upon an in-

        person meeting to provide CyberRoot’s information. Mr. Azima’s counsel

        declined to meet in person without CyberRoot first indicating what they

        were prepared to admit to and what documentary evidence they hold.

        M&C also asked what CyberRoot hoped to get out of an in-person

        meeting, and they refused to say.

4.      Mr. Bisht on behalf of CyberRoot eventually agreed to provide a preview

        of the evidence CyberRoot possessed. In May 2023, CyberRoot asked

        M&C to communicate on a messaging application called “Twinme,” a

        secure and encrypted end-to-end application for (among other things)

        text messages. CyberRoot then sent M&C a series of text messages on

        Twinme in which CyberRoot admitted to working with Mr. Del Rosso

        and others to successfully phish and hack Mr. Azima and others starting

        in 2016. Attached as Exhibit A is a true and correct copy of those text

        messages as received.

5.      Specifically, in the text messages, Mr. Bisht, on behalf of CyberRoot,

        admitted that:




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           a. Mr. Del Rosso first contacted CyberRoot in 2015 and asked

              CyberRoot to hack Mr. Azima.

           b. CyberRoot successfully hacked Mr. Azima and others beginning in

              2016.

           c. After obtaining Mr. Azima’s data by hack, CyberRoot sent that

              data to Mr. Del Rosso via WeTransfer links via encrypted

              messaging applications.

           d. In June 2016, Mr. Del Rosso asked CyberRoot to transfer the

              hacked data onto laptops to be delivered to Mr. Neil Gerrard.

           e. Mr. Gerrard instructed CyberRoot (through Mr. Del Rosso) to place

              the hacked data on the Internet, which CyberRoot did.

           f. In 2017, at Mr. Del Rosso’s instructions, CyberRoot delivered two

              mobile phones and one iPad to Mr. Del Rosso for secure

              communication.

           g. Vikash Pandey would be willing to “reverse” his prior witness

              statement.

6.      To prove that CyberRoot was behind the hacking that Mr. Del Rosso and

        Mr. Gerrard ordered, the Twinme text messages from Mr. Bisht also

        included the passwords of Mr. Azima’s that CyberRoot had used to hack

        Mr. Azima.

7.      CyberRoot said that they could provide additional information and

        corroboration if M&C agreed to meet in person. CyberRoot refused to



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        meet in the U.S. or Europe, and it was eventually agreed that the parties

        would meet in Tokyo, Japan.

8.      Kirby Behre and I met with CyberRoot directors Mr. Bisht and Mr.

        Chiranshu Ahuja in person on June 20-21, 2023, in Tokyo. I recognized

        Mr. Ahuja from photos available on the Internet. Mr. Bisht and Mr.

        Ahuja claimed to be speaking for CyberRoot and the remaining director,

        Mr. Vibhor Sharma. At the meetings, CyberRoot again admitted to

        hacking Mr. Azima at the direction of Mr. Del Rosso, Mr. Gerrard, and

        others, starting in 2015. CyberRoot provided more detail beyond what

        was included in the May 2023 text messages and presented some

        documentary support. For example, Mr. Bisht and Mr. Ahuja admitted

        that:

           a. Mr. Del Rosso continued to ask CyberRoot to attempt to target Mr.

                Azima and others as late as 2020, and CyberRoot did so.

           b. Mr. Del Rosso requested that CyberRoot attempt to hack Mr.

                Azima in 2019 to assist Mr. Gerrard in an upcoming trial involving

                Mr. Azima, and CyberRoot did so.

           c. Mr. Del Rosso requested CyberRoot target the email addresses of

                others, such as cameron@riskprofiling.co.uk during 2018, and

                CyberRoot did so.




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           d. Mr. Del Rosso and Mr. Gerrard instructed CyberRoot to publish

              Mr. Azima’s stolen data on the Internet, first in 2016 and then

              again in 2018 and 2019, which CyberRoot did.

           e. In 2017, Mr. Del Rosso stopped paying CyberRoot through Vital

              Management Services because he was worried about the payments

              being traced back to him. He used multiple other entities to make

              payments to CyberRoot, totalling more than $2.3 million.

           f. After Mr. Azima sued Mr. Del Rosso in this proceeding in October

              2020, Mr. Del Rosso instructed CyberRoot to destroy all

              documents, but CyberRoot did not do so.

           g. After this lawsuit was filed, Mr. Del Rosso’s lawyers, including

              Brandon Neuman and Jeffrey Kelly, pressured Mr. Bisht and Mr.

              Vikash Pandey to sign false statements denying the hacking of Mr.

              Azima.

9.      After CyberRoot’s presentation admitting to hacking and related illegal

        activity, CyberRoot for the first time explained what it was seeking.

        CyberRoot said that it wished to be paid $20 million in exchange for

        documentation backing up the information they had already provided.

        We rejected it as not being a serious request. CyberRoot also requested

        “immunity.”

10.     This week, Mr. Bisht used the settings within Signal and Twinme to

        delete text messages, including the admissions attached to this



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     statement. Mr. Bisht changed the settings on Signal to delete messages

     after 24 hours and deleted portions of the text messages on Twinme

     attached to this statement, specifically those in which he confessed that

     CyberRoot hacked Mr. Azima.         I therefore prepared this witness

     statement.



     I declare under penalty of perjury that the foregoing is true and correct.

Executed on July 20, 2023, in Washington, D.C.



                                   _____________________________
                                   Ian A. Herbert




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              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    CASE NO. 20-CV-954-WO-JLW


FARHAD AZIMA,

      Plaintiff,

      v.
                                           CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.



     I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
Declaration to the following attorneys:
      Brandon S. Neuman, Esq.
      John Branch, III, Esq.
      Jeffrey M. Kelly, Esq.
      Nathaniel J. Pencook, Esq.
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      Raleigh, NC 27603
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      nate.pencook@nelsonmullins.com
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      Tel.: 919.329.3800
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 Samuel Rosenthal, Esq.
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 Washington, DC 20001
 Tel.: 202-689-2951
 Fax: 202-689-2860
 sam.rosenthal@nelsonmullins.com

 Counsel for Defendants




 This, the 20th day of July, 2023.


                                WOMBLE BOND DICKINSON (US) LLP

                                 /s/ Ripley Rand
                                Ripley Rand
                                North Carolina State Bar No. 22275
                                555 Fayetteville Street, Suite 1100
                                Raleigh, NC 27601
                                Telephone: (919) 755-8125
                                Facsimile: (919) 755-6752
                                Email:     ripley.rand@wbd-us.com


                                Counsel for Plaintiff




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    Exhibit A to
Declaration of Ian A.
      Herbert




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                         Exhibit 5
       (Vijay Bisht Grocery Receipt)




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                                                                                                                Original Tax Invoice

                               Details of Supplier                                                         Bill to/Ship to:                                                 Invoice Number        IEXHR23IUAB51722


                              Innovative Retail Concepts Pvt Ltd,Innovative Retail                         vijay bisht,67,Huda Plots,Block A,Bharti International           Invoice Date          21/06/2023
                              Concepts Pvt Ltd,Khasra No- 1892/1, Shyam Chowk,,                            Convent School,Gurgaon Sector 56,Gurgaon,06,122011,
                              Sector-52, village , 122003,Gurgaon,06,122003,                               Haryana (06)
                                                                                                                                                                           Additional Information
                              Haryana (06)
                              Tel.: 1860 123 1000                                                                                                                           Order No                      EXN-1242231943-20230620
                              GSTIN : 06AACCI2053A1ZB                                                                                                                                                     Wed 21 Jun 2023 between 08:
                                                                                                                                                                            Slot
                              CIN: U74130KA2010PTC052192                                                                                                                                                  00 AM and 10:00 AM
                              FSSAI Lic. No: 10820005000102                                                                                                                 Payable Amount                Rs.0.00

                                                                                                                                                                            Payment Mode                  CARD

We appreciate your concern towards the environment. In line with this we request you to please keep aside the                                                               Source                        bb-b2c
fruits and vegetables tray packs, so that we can collect them back next time we visit your place.

                                                                                                                                                                            No. of Items                  8



                                                                                                                                                                                                         SGST/
                                                                                                                                                                                              CGST
SI                                               HSN                             Unit              Unit Tax               Gross            Discount/         Delivery         Taxable                   UTGST%        CESS        TOTAL
               Item Description                                Quantity                                                                                                                       Rate(%)
No.                                              Code                           Price*              Value                 Value*            Margin*          Charge            Value                    Rate(%)      Amount       Value
                                                                                                                                                                                              Amount
                                                                                                                                                                                                        Amount


        MAGGI Nutri-Licious Masala
        Veg Atta Noodles - Herbs &                                                                                                                                                             6.0%      6.0%
 1                                            19024090            1.00            102.00                    82.14             102.00               10.00            0.00              82.14                              0.0            92.00
       Spice Blend, Iron & Fibre Rich                                                                                                                                                          4.93      4.93
               290 g Pouch

                                                                                                                                                                                               0.0%      0.0%
2        Lijjat Papad - Moong 250 g           19051000            1.00             84.00                   84.00               84.00                0.00            0.00             84.00                               0.0            84.00
                                                                                                                                                                                                0.0       0.0

          BB Royal Organic - Mixed                                                                                                                                                             2.5%      2.5%
3                                             09096230            1.00           200.00                   152.38              200.00               40.00            0.00             152.38                              0.0            160.00
                 Dal 1 kg                                                                                                                                                                      3.81      3.81

          ROYAL Premium Plain
                                                                                                                                                                                               2.5%      2.5%
4      Chana - Without Skin, Healthy          21069060            1.00             60.00                    57.14              60.00                0.00            0.00              57.14                              0.0            60.00
                                                                                                                                                                                               1.43      1.43
               Snack 200 g

          MAXI Zoom Car Junior
        Toothbrush - Soft Bristles,                                                                                                                                                            9.0%      9.0%
5                                             96032100            1.00             75.00                   63.56               75.00                0.00            0.00             63.56                               0.0            75.00
       Comfortable Grip 2 pcs (Buy 1                                                                                                                                                           5.72      5.72
               Get 1 Free)




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           Colgate Kids Toothpaste - 2-
                                                                                                                                                                      9.0%    9.0%
    6      5 Years, Strawberry Flavour  33061020                        1.00                68.00              57.63   68.00    0.00     0.00               57.63                     0.0           68.00
                                                                                                                                                                      5.19    5.19
                       40 g

             ALPENLIEBE Juzt Jelly -
          With 25% Fruit Pulp, Assorted                                                                                                                               6.0%    6.0%
    7                                              17049030             1.00                30.00              26.79   30.00    0.00     0.00               26.79                     0.0           30.00
          Flavour, Cars & Planes 71.5 g                                                                                                                                1.61    1.61
                     Pouch

            Fackelmann Multi-Purpose
                                                                                                                                                                      6.0%    6.0%
    8      Wooden Toothpicks, 6.5 Cm,              44199090             1.00                99.00              61.61   99.00   30.00     0.00                61.61                    0.0           69.00
                                                                                                                                                                       3.7     3.7
               Set of 190 190 pcs


                                                                                                                                         0.00             585.22                                   638.00



GST Information
                                                                                                                                                                 Sub Total                    Rs.638.00

CGST%                   Sale                         Taxable Value                Tax Value
                                                                                                                                       Credit availed from bigbasket Wallet                     Rs.0.00

                6.0%                   Rs.191.00                    Rs.170.54                       Rs.10.24
                                                                                                                                                      Redeemed Neucoins                             0.0

                2.5%                 Rs.220.00                     Rs.209.52                        Rs.5.24
                                                                                                                                                                Final Total                   Rs.638.00

                9.0%                  Rs.143.00                      Rs.121.19                      Rs.10.91                                                                           You Saved: Rs.80.00


SGST%                   Sale                         Taxable Value                Tax Value                                       Total Invoice value ( In Figure ): Rs.638.00
                                                                                                                                  Total Invoice value (In words): Rs.Six Hundred Thirty Eight
                6.0%                   Rs.191.00                    Rs.170.54                       Rs.10.24
                                                                                                                                  Rupees
                2.5%                 Rs.220.00                     Rs.209.52                        Rs.5.24

                9.0%                  Rs.143.00                      Rs.121.19                      Rs.10.91



*Includes GST component
As per Section 31 of CGST Act read with Rules, invoice is issued at the point of
delivering the goods
Disclaimer: The final invoice copy will be available on the app under order details page.




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